        Paul Alan Levy (pro hac vice)
   1    Public Citizen Litigation Group
        1600 20th Street NW
   2    Washington, D.C. 20009
        (202) 588-7725
   3    plevy@citizen.org
   4    Stephen Kirby
        Kirby Law Office, PLLC
   5    WSBA #43228
        1312 N. Monroe St.
   6    Spokane, Washington 99201
        (509) 795-4863
   7    kirby@kirbylawoffice.com
   8    Phillip R. Malone (pro hac vice)
        Juelsgaard Intellectual Property and Innovation Clinic
   9    Mills Legal Clinic at Stanford Law School
        Crown Quadrangle, 559 Nathan Abbott Way
  10    Stanford, California 94305-8610
        (650) 724-1900
  11    pmalone@stanford.edu
  12                           UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF WASHINGTON
  13
        PREPARED FOOD PHOTOS, INC.,                 )
  14    f/k/a ADLIFE MARKETING                      )
        & COMMUNICATIONS CO., INC.,                 )     No. 2:23-cv-00160-TOR
  15    a Florida for profit corporation,           )
                                                    )
  16                                                )     DEFENDANT’S MOTION
                                Plaintiff,          )     TO ENFORCE ORDER
  17                                                )     COMPELLING PLAINTIFF
                        v.                          )     TO RESPOND TO
  18                                                )     DOCUMENT REQUEST 15
                                                    )
  19    POOL WORLD, INC., a Washington for          )     Hearing March 28, 2025
        profit corporation,                         )     6:30 PM
  20                                                )
                                                    )
  21                            Defendant.          )
  22

  23

  24

  25

  26

  27

  28


Motion to Enforce Discovery Order (DN 68)                                Case No. 2:23-cv-00160-TOR
                Defendant Pool World, Inc., moves to compel plaintiff Prepared Food Photos,
   1

   2    Inc. ("PFP") to comply with the Court's December 16, 2024 order, which directed
   3    PFP to respond to produce documents showing actual payments by PFP’s subscribers.
   4
        Rather than comply with the Court’s Order, PFP responded to Document Request 15
   5

   6    by producing a series of bank statements and disbursement memoranda that are
   7    heavily redacted , but without making any claim of privilege, nor submitting an index
   8
        of redacted materials that would enable Pool World or the Court to assess the basis
   9

  10    for withholding. Repeated communications among counsel, beginning with an email
  11
        on January 10, and including a telephonic meet and confer on February 5, have not
  12
        resolved this dispute.
  13

  14    FACTUAL BACKGROUND
  15
                Plaintiff PFP maintains a large database of food photographs. In this case, PFP
  16
        alleges that a composite image that Pool World posted to one of its websites in 2010
  17

  18    contained a photograph of grilled vegetables in which PFP held the copyright. PFP
  19
        filed this action alleging that Pool World’s posting of the composite image infringed
  20

  21
        its copyright. PFP seeks damages in the amount of about $145,000 for the posting of

  22    a single image over the twelve-year period from 2010 to 2022.
  23
                PFP presents itself as a business that creates high-end food photographs and
  24

  25    licenses access to its entire database of photos to companies that are willing to pay

  26    $999 per month, for a minimum period of twelve months. Complaint ¶ 8. In the
  27
        motion to compel discovery on which the Court ruled late last year, Pool World
  28


Motion to Enforce Discovery Order (DN 68)         -1-                          Case No. 2:23-cv-00160-TOR
        showed that, quite to the contrary, PFP’s main business is copyright
   1

   2    enforcement—sending letters demanding exorbitant damages payments, which it
   3    exacts by threatening to impose the costs of a legal defense, and filing lawsuits for
   4
        alleged infringement which are typically either settled quickly (if the target hires
   5

   6    counsel) or resolved by a default judgment based on PFP’s representations about its
   7    subscriptions. Indeed, as shown in previous filings, PFP’s owner candidly admitted
   8
        in a blog post that the reason why PFP changed its business model from licensing
   9

  10    rights to individual images to selling a subscription to its entire library of food photos
  11
        was to enable a copyright enforcement business. DN 55-7.
  12
                In order to contest PFP’s contentions about its subscription business, Pool
  13

  14    World moved to compel PFP to respond to three document requests designed to test
  15
        PFP's self-characterization. The Court granted that motion in part, ordering PFP to
  16
        “produce the requested production” as follows within 14 days:
  17

  18            14. all communications, and records of communications, with persons
                that entered into subscription agreements [with PFP].
  19

  20            15. documents reflecting payments pursuant to those subscription
                agreements.
  21

  22            Order of December 16, DN 68.
  23
                On December 30, PFP sent many documents to Pool World, purporting to
  24

  25    comply with the December 16 order, but its material did not meet the requirements
  26    of that order, in several respects. With respect to Document Request 15, PFP
  27
        produced several large checks, as well as disbursement memoranda from PFP’s law
  28


Motion to Enforce Discovery Order (DN 68)          -2-                           Case No. 2:23-cv-00160-TOR
        firm, reflecting lump sum payments from each of the subscribers whose agreements
   1

   2    were signed in 2022 and 2023. Levy Fifth Affirmation ¶ 4 and Exh. DD (filed with
   3    this motion). Apparently, every company that subscribed during this period signed
   4
        up after having received a threat of infringement litigation. Id. ¶ 4. The disbursement
   5

   6    memoranda were heavily redacted; no explanation for the redactions was provided.
   7    Id. ¶ 4 and Exhibit DD.
   8
                Beyond these documents reflecting lump sum payments, PFP produced a series
   9

  10    of heavily redacted excerpts from Bank of America statements going back only to
  11
        June 2020. It apparently justified that limit by invoking PFP’s policy of routinely
  12
        destroying documents after four years, as set forth in an affidavit from its president.
  13

  14    Id. ¶¶ 4-5 and Exh. EE. Only after undersigned counsel pointed out that Bank of
  15
        America makes records accessible to its customers online did PFP produce Bank of
  16
        America statements from 2018 and 2019 (seven years before the date of production).
  17

  18    The 2017 records, which fall squarely within the period when PFP is claiming
  19
        damages in this case, were not produced even though, had PFP taken steps to preserve
  20

  21
        those records when it received the document request in January 2024, they could have

  22    been produced. Id. ¶ 5.
  23
                But even with regard to the bank statements that were produced, PFP omitted
  24

  25    most of the pages—only a couple of pages from statements of a up to 18 pages long

  26    were produced—and almost every line on those statements was redacted, revealing
  27
        only one of four things: monthly payments of $499 from a single company that had
  28


Motion to Enforce Discovery Order (DN 68)         -3-                          Case No. 2:23-cv-00160-TOR
        subscribed in 2017; transfers from different Bank of America accounts; transfers from
   1

   2    Bad Adz, a company under common ownership with PFP; and deposits from a
   3    company called Stripe, a payment processor. Id. ¶¶ 6, 9-10 and Exhs. FF, HH. The
   4
        take-away: as of December 30, despite the Court’s order compelling discovery, PFP
   5

   6    had provided records of monthly subscription payments by only one of the twenty-
   7    two subscribers whose subscription agreements had been disclosed in discovery.
   8
                PFP initially took the position that records of the payment processor Stripe
   9

  10    were in the possession of a third party and had to be subpoenaed from it. Id. ¶ 15.
  11
        In response to the meet and confer process, PFP counsel acknowledged that granular
  12
        monthly payment data was accessible on Stripe, and on February 21, 2025 (nearly two
  13

  14    months after the Court's compliance deadline), PFP finally produced a series of
  15
        spreadsheets showing monthly payments via Stripe for each month from 2017 to
  16
        2024. Id. ¶ 16 and Exh. KK. That spreadsheets, however, show monthly payments
  17

  18    from no more than one subscriber for most of the months in 2017 to 2020 and no
  19
        subscribers at all in 2021 and 2022. Id. PFP counsel represented that their client had
  20

  21
        no longer had access to payment data from an unidentified “other” payment

  22    processor. Id. The parties continue to confer about whether such data can be found
  23
        and, if not, when it was destroyed.
  24

  25            But the parties have deadlocked on the single issue presented by this motion.

  26    PFP has not contended that the redacted information (most of the pages of the bank
  27
        statements and almost every line on the bank statement pages and CopyCat Legal
  28


Motion to Enforce Discovery Order (DN 68)         -4-                         Case No. 2:23-cv-00160-TOR
        disbursement memoranda that it has produced) is in any way privileged. Fifth Levy
   1

   2    Aff. ¶¶ 6-7. PFP contends that it is entitled to redact most of the records being
   3    produced because only the occasional line is responsive to information identified in
   4
        the document request— payments from subscribers. Id.¶ 7. But that contention
   5

   6    cannot be squared with the language of Rule 26, nor with the caselaw, and not with
   7    the language of the Court’s order, which was to produce “documents” containing
   8
        subscriber payment information.
   9

  10            Pool World contends that documents containing subscriber payment
  11
        information must be produced without redaction. Understanding and being able to
  12
        establish PFP’s total revenue from making copyright claims is an important aspect of
  13

  14    Pool World’s defense of this case and relevant to rebutting PFP’s claim that its
  15
        business is selling monthly licenses to its photos for business purposes. The redacted
  16
        information may be relevant for Pool World to show that PFP’s primary activity and
  17

  18    source of revenue is in fact not selling market-based licenses but rather securing
  19
        settlements and default judgments in exorbitant amounts extracted from alleged
  20

  21
        copyright infringers. See Fifth Levy Aff. ¶ 8.

  22    ANALYSIS
  23
                Rule 26(b)(5) of the Federal Rules of Civil Procedure provides for the
  24

  25    redaction of privileged matter, supported by a specific assertion of privilege that

  26    provides sufficient information to assess the claim, but not for the redaction of
  27
        portions of documents that supposedly are not relevant to the reasons for production.
  28


Motion to Enforce Discovery Order (DN 68)        -5-                          Case No. 2:23-cv-00160-TOR
        Rule 26(b)(5). Most courts hold that when a document is responsive to a document
   1

   2    request, the entire document must be produced, without any redaction except as
   3    needed to protect privileged information, even if the producing party contends that
   4
        some of the content of the documents is allegedly not relevant to the issues in the
   5

   6    litigation. The leading case is Bartholomew v. Avalon Capital Group, 278 F.R.D.
   7    441, 451-52 (D. Minn. 2011), which has been widely followed and quoted in many
   8
        other cases. Target Corp. v. ACE Am. Ins. Co., 576 F. Supp. 3d 609, 620 (D. Minn.
   9

  10    2021); In re Davol, Inc./C.R. Bard, Polypropylene Hernia Mesh Products Liab. Litig.,
  11
        2021 WL 630826, at *1 (S.D. Ohio Feb. 18, 2021); Am. Mun. Power v. Voith Hydro,
  12
        2020 WL 5014914, at *3 (S.D. Ohio Aug. 25, 2020); TrueNorth Companies v.
  13

  14    TruNorth Warranty Plans, 2019 WL 5460208, at *2 (N.D. Iowa Mar. 19, 2019);
  15
        Howell v. City of New York, 2007 WL 2815738, at *2 (E.D.N.Y. Sept. 25, 2007).
  16
                This rule has been followed by district courts in Washington. E.g., Doe v.
  17

  18    Trump, 329 F.R.D. 262, 275-76 (W.D. Wash. 2018). There, the court agreed with
  19
        decisions that “generally disapprove of the practice of redacting claimed unresponsive
  20

  21
        material,” recognizing that redaction is generally “an inappropriate tool for excluding

  22    information that a party considers to be irrelevant or nonresponsive from documents
  23
        that are otherwise responsive to a discovery request.” Id. (citing cases, including
  24

  25    Bartholomew). And it reasoned that it is a “rare document that contains only relevant

  26    information,” while noting that “irrelevant information within an otherwise relevant
  27

  28


Motion to Enforce Discovery Order (DN 68)         -6-                          Case No. 2:23-cv-00160-TOR
        document may provide context necessary to understand the relevant information.”
   1

   2    Id.
   3            Moreover, even if PFP had a valid basis for withholding parts of the
   4
        documents, PFP waived that objection by not asserting it in its objections to
   5

   6    document request when the request was first served, or in its arguments against the
   7    motion to compel, or even by serving a log of objections when it purported to comply
   8
        with the Court's order granting PFP’s motion to compel. See Burlington N. & Santa
   9

  10    Fe Ry. Co. v. U.S. Dist. Ct. for Dist. of Mont., 408 F.3d 1142, 1149 (9th Cir. 2005)
  11
        (boilerplate objections and blanket refusals in a response to a Rule 34 request do not
  12
        sufficiently assert a privilege).
  13

  14            The document request reminded PFP of the rule that the entire document must
  15
        be produced. Levy Fifth Aff. ¶6, Exh. GG (“8. Do not make any redactions on the
  16
        produced documents unless they involve a valid privilege and you produce an
  17

  18    appropriate privilege log.”) PFP never objected to that aspect of the request, and in
  19
        arguing against the motion to compel, its only arguments were that the actual
  20

  21
        payments received from subscribers were not relevant to the issues in the litigation

  22    and that the discovery sought was not proportional to the dollar value of of the
  23
        litigation. Indeed, PFP never argued that the documents revealing subscriber payment
  24

  25    contained other information not relevant to the issues in the litigation, and it did not

  26    ask the Court to allow it to produce only part of the documents. Thus, the Court
  27

  28


Motion to Enforce Discovery Order (DN 68)         -7-                          Case No. 2:23-cv-00160-TOR
        ordered PFP to “produce the requested production within fourteen (14) days”; it did
   1

   2    not order production of only a portion of the documents.
   3            PFP has no basis at this late date to vary from the prevailing rule that the entire
   4
        document must be produced without any redaction. Consequently, pursuant to the
   5

   6    caselaw cited above and the clear wording of the Court’s order, and given that PFP
   7    has not contended that any of the contents are privileged, PFP should be ordered to
   8
        comply with the Court’s December 16 order by providing all of the pages of the
   9

  10    various bank statements and disbursement memoranda, with no redactions.
  11
        CONCLUSION
  12
                The motion to compel compliance with the Court's December 2024 discovery
  13

  14    order should be granted.
  15
                                                                Respectfully submitted,
  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28


Motion to Enforce Discovery Order (DN 68)           -8-                           Case No. 2:23-cv-00160-TOR
   1                                            /s/ Paul Alan Levy
   2                                        Paul Alan Levy (pro hac vice)
                                            Public Citizen Litigation Group
   3                                        1600 20th Street NW
                                            Washington, D.C. 20009
   4                                        (202) 588-7725
                                            plevy@citizen.org
   5                                           /s/ Stephen Kirby
   6                                        Stephen Kirby
                                            Kirby Law Office, PLLC
   7                                        WSBA #43228
                                            1312 N. Monroe St.
   8                                        Spokane, Washington 99201
                                            (509) 795-863
   9                                        kirby@kirbylawoffice.com

  10                                          /s/ Phillip R. Malone
                                            Phillip R. Malone (pro hac vice)
  11                                        Juelsgaard Intellectual Property
                                             and Innovation Clinic
  12                                        Mills Legal Clinic at Stanford Law School
                                            Crown Quadrangle, 559 Nathan Abbott Way
  13                                        Stanford, California 94305-8610
                                            (650) 724-1900
  14                                        pmalone@stanford.edu

  15                                        Attorneys for Defendant
        February 25, 2025
  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28


Motion to Enforce Discovery Order (DN 68)         -9-                         Case No. 2:23-cv-00160-TOR
                                        CERTIFICATE OF SERVICE
   1

   2            I hereby certify that, on this 25th day of February, 2025, I am filing this motion
   3    to compel compliance with the Court’s discovery order by the Court’s ECF system,
   4
        which will effect service on counsel for plaintiff, Max Archer and Lauren Hausman.
   5

   6

   7

   8

   9                                                  /s/ Paul Alan Levy
                                                 Paul Alan Levy (pro hac vice)
  10                                             Public Citizen Litigation Group
                                                 1600 20th Street NW
  11                                             Washington, D.C. 20009
                                                 (202) 588-7725
  12                                             plevy@citizen.org
  13

  14    February 25, 2025

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28


Motion to Enforce Discovery Order (DN 68)          -10-                          Case No. 2:23-cv-00160-TOR
